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FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG 22 PH |+: 38
WESTERN DIVISION

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UNITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 03-20249-Ma

AN'I‘HONY PAUL SHAW ,

Defendant.

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ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for' a report date on. July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning October 3, 2005 at 9:30 a.m., with a
report date of Friday, September 23, 2005 at 2:00 p.m.

The period from July 22, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 316l(h)(8)(B)(iV) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

. QL-A
IT IS SO ORDERED this day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DIS'I'RICT JUDGE

 

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This notice confirms a copy of the document docketed as number 141 in
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Honorable Samuel Mays
US DISTRICT COURT

